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   EXHIBIT 1
To Report & Recommendation for Claimants
             in November 2021 Cohort
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         Claimant Name              Exhibit Number of Proposed Judgments
        Alfonsina Cuevas                              2
       Alonzo Holcombe                                2
      Antoinette Burrows                              2
       Antonio Martinez                               2
      Carmen Concepcion                               2
          Dorothy Tolen                               2
          Edna Guevara                                2
      Ellen Grant-Caldwell                            2
         Esther Domecq                                2
        Geovanna Cuilan                               2
          Gladys Bryan                                2
            Jean Delly                                2
          Jennie Bonilla                              2
          Marie Branch                                2
           Phyllis Beard                              2
         Reginald Parker                              2
        Roberto Johnson                               2
        Roslyn Matthews                               2
         Sharyn Hughes                                2
           Virginia Cruz                              2
         Balkus Manette                               3
         Carmen Tirado                                3
      Console Ifezulumba                              3
        Dieuve Gaussaint                              3
       E/O Pauline Green                              3
           Irma Varner                                3
       Isidro Garcia Cruz                             3
         Iyabode Fasasi                               3
        Jeanniene Brown                               3
         Marlon Seaton                                3
          Nicole Everett                              3
         Orleron Depeza                               3
           Tracy Gibson                               3
          Tresa Greene                                3
          Wanda Lucas                                 3
